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                              UNITED STATES DISTRICT COURT
                                DISTRICT OF CONNECTICUT

 ERICA LAFFERTY; DAVID WHEELER;                    :
 FRANCINE WHEELER; JACQUELINE                      :
 BARDEN; MARK BARDEN; NICOLE                       :
 HOCKLEY; IAN HOCKLEY; JENNIFER                    :
 HENSEL; JEREMY RICHMAN; DONNA                     :
 SOTO; CARLEE SOTO-PARISI; CARLOS                  :
 M. SOTO; JILLIAN SOTO; and WILLIAM                :
 ALDENBERG,                                        :
                                                   :      Case No. 3:18-cv-01156-JCH
                Plaintiffs,                        :
                                                   :
        v.                                         :
                                                   :              July 31, 2018
 ALEX EMRIC JONES; INFOWARS, LLC;                  :
 FREE    SPEECH    SYSTEMS,  LLC;                  :
 INFOWARS HEALTH, LLC; PRISON                      :
 PLANET    TV,   LLC;   WOLFGANG                   :
                                                   :
 HALBIG; CORY T. SKLANKA; GENESIS                  :
 COMMUNICATIONS NETWORK, INC.;                     :
 and MIDAS RESOURCES, INC.,                        :
            Defendants.                            :

 WILLIAM SHERLACH,                                 :
                                                   :
                Plaintiff,                         :
                                                   :
        v.                                         :      Case No. 3:18-cv-01269-MPS
                                                   :
 ALEX EMRIC JONES; INFOWARS, LLC;                  :
 FREE    SPEECH    SYSTEMS,  LLC;                  :
 INFOWARS HEALTH, LLC; PRISON                      :              July 31, 2018
 PLANET    TV,   LLC;   WOLFGANG                   :
 HALBIG; CORY T. SKLANKA; GENESIS                  :
 COMMUNICATIONS NETWORK, INC.;                     :
 and MIDAS RESOURCES, INC.,                        :
                                                   :
            Defendants.                            :

                                NOTICE OF RELATED CASES
       Pursuant to Local Rule 40(b)(2), Defendant Alex Emric Jones hereby gives notice of
related cases pending before this Court.
       Both of the above-captioned proceedings, Lafferty, et al., v. Jones, et al., Case No. 3:18-
cv-01156-JCH and Sherlach v. Jones, et al., relate to the same allegations brought by similarly
situated plaintiffs against the same defendants.


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       The Lafferty matter was filed on May 23, 2018 in the Superior Court, Judicial District of
Fairfield at Bridgeport, Connecticut, and removed by Defendants Alex Emric Jones, Infowars,
LLC, Free Speech Systems, LLC, Infowars Health, LLC, and Prison Planet TV, LLC on July 13,
2018. The proceeding was assigned to District Judge Janet C. Hall.
       The Sherlach matter was filed on July 6, 2018 in the same Superior Court against the same
Defendants as the Lafferty matter, and was removed by Defendants Alex Emric Jones, Infowars,
LLC, Free Speech Systems, LLC, Infowars Health, LLC, and Prison Planet TV, LLC on July 31,
2018. The proceeding was assigned to District Judge Michael P. Shea.
       The underlying complaints in both matters make factually identical allegations and bring
the same claims against the same defendants. Defendants noted the related nature of the cases on

the civil cover sheet filed with the Notice of Removal in the Sherlach matter.
       Accordingly, Defendant files this Notice of Related Cases.



       Dated: July 31, 2018.                 Respectfully submitted,
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                                             Case Nos. 3:18-cv-01156-JCH & 3:18-cv-01269-MPS
                                 CERTIFICATE OF SERVICE
       I hereby certify that, on this 31st day of July 2018, a copy of the foregoing was filed
electronically. Notice of this filing will be sent by e-mail to all parties by operation of the court’s
electronic filing system or by mail to anyone unable to accept electronic filing as indicated on the
Notice of Electronic Filing. Parties may access this filing through the court’s CM/ECF System.
       I further certify that copies of the foregoing document are being served by electronic mail
and U.S. Mail upon the parties at the addresses below:

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